     Case 1:10-cv-01022-GBW-KBM Document 32 Filed 04/28/11 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


FRANK WEBB,

        Plaintiff,

v.                                                   No. 10- cv-01022 GBW/RLP

KWAL-HOWELLS, INC.,

        Defendant.


      RESPONSE TO DEFENDANT’S MOTION TO STRIKE THE PLAINTIFF’S JURY
                               DEMAND

        Plaintiff files this response to Defendant’s Motion to Strike the Plaintiff’s Jury

Demand [Docket no. 30] and would show the Court that the motion should be

denied and this matter maintained as already set for trial by jury pursuant to Rule

39 FRCP, the federal constitutional policy favoring a party’s fundamental right to

a trial by jury under the Seventh Amendment, and the Tenth Circuit authority

controlling the Court’s decision on his matter.

        Defendant’s motion rests primarily on Rule 38’s timeline for demanding a

jury. Plaintiff’s Request for Trial Setting and Jury Demand was late under that

Rule’s standard however under Rule 39 a jury trial in this case should be granted.

        First, this matter was removed from the Eleventh Judicial District state court

where plaintiff filed his complaint. In plaintiff’s counsel’s first contact from former

defense counsel in early/mid October 2010, defendant immediately raised the

possibility of an early mediation in this case, so counsel’s attention was focused

on setting up that mediation, which did occur on January 13, 2011. Counsel for

plaintiff first became aware that no jury demand was filed as he and former
  Case 1:10-cv-01022-GBW-KBM Document 32 Filed 04/28/11 Page 2 of 5




defense counsel were preparing the Joint Status Report for this case, and

immediately filed the jury demand.

       This case has already been set for a jury trial on October 25, 2011 [docket

no. 21]. The Court held a conference to set this trial date on January 27, 2011,

and no objection was raised by defendant at that time when the Court was

setting this case for a jury trial, at a time when plaintiff’s jury demand had

already been filed. That the Court has entered an order setting this matter for jury

trial after discussing it with counsel should suffice to deny defendant’s motion, as

at the most opportune time to present this matter to the Court defendant failed

to do so.

       Alternatively, this court should set this matter for jury trial under Rule 39.

Federal Rule 39(b) provides that “notwithstanding the failure of a party to

demand a jury in an action in which such a demand might have been made of

right, the court in its discretion upon motion may order a trial by a jury of any or

all issues.” “Absent a strong, compelling reason to the contrary, a district court

should exercise its discretion under Rule 39(b) and grant a jury trial.” AMF

Tuboscope, Inc. v. Cunningham, 352 F.2d 150, 155 (10th Cir. 1965). Rule 39(b)

should not be narrowly construed because the right to a jury trial is a

fundamental right under the Seventh Amendment, federal policy favors jury

trials, and motions under Rule 39(b) should be granted in the absence of

prejudice to the parties, or “strong and compelling reasons” supporting the

opposition. Aguilar v. City of Roswell, CIV 09-0771 JCH/GBW, Order Granting Jury

Trial [docket no 35]; Bates v. Board of Regents of Northern N.M. Community

College, 122 F.R.D. 586, 588-89 (D.N.M. 1987).
  Case 1:10-cv-01022-GBW-KBM Document 32 Filed 04/28/11 Page 3 of 5




       This case involves a claim of disability discrimination brought under both

the ADA and New Mexico Human Rights Act to remedy defendant’s failure to

accommodate plaintiff’s Bell’s Palsy and terminating him in conjunction with that

failure. Both statutes provide for trial by jury of these claims. Defendant was not

only on notice that this was intended as a jury case, they essentially agreed to it

in the conference setting this matter for trial.

       Notwithstanding counsel for Plaintiff’s error, good cause exists for granting

this motion pursuant to Rule 39(b). As reflected by the body of established 10th

Circuit Case law a motion for a jury trial under Rule 39(b) should be granted if

there is no disruption or delay in the proceeding before the court, and if the

opposing party will not suffer prejudice.

       Granting this motion will not prejudice defendant nor disrupt or delay

these proceedings in this case as the matter has already been set for trial.

Discovery in this case is ongoing and has not been completed, and no prejudice

has been stated by defendant’s motion, nor could it be imagined what sort of

prejudice they might credibly claim in presenting their defenses to a jury of

plaintiff’s peers. The other related pre-trial deadlines have also not expired.

       To   cure    defendant’s         objection   elevating   form   over   substance,

contemporaneously with this response, plaintiff has filed a motion requesting that

the jury trial set for this matter be maintained. As noted in the JSR/PDP adopted

by order of the Court, this case should take only two to three days to try.

Granting that motion and the relief sought therein will not delay this case or

interfere with its orderly conduct, nor will granting this motion impact any possible

trial setting or pre-trial deadlines.
  Case 1:10-cv-01022-GBW-KBM Document 32 Filed 04/28/11 Page 4 of 5




       The right to jury trial granted by the Seventh Amendment ought to be

guarded more closely in the context of plaintiff’s right to be free of discrimination

such as in this case where Congress and the New Mexico Legislature have

expressly granted that right and the established law in the Tenth Circuit

concludes that the Court should deny defendant’s motion.

                                   CONCLUSION

       Because good cause exists, and because there are no strong or

compelling reasons to deny Plaintiff’s request for a jury trial under Rule 39(b),

particularly since this case has already been set for jury trial and no party would

be prejudiced by denying defendant’s motion, Plaintiff respectfully requests that

defendant’s motion be denied.

                                           Respectfully submitted,

                                           VALDEZ AND WHITE LAW FIRM, LLC

                                           _electronically signed
                                           Timothy L. White
                                           P.O. Box 25646
                                           Albuquerque, N.M. 87125
                                           Telephone: (505) 345-0289
                                           Fax: (505) 345-2573
                                           Attorneys for Plaintiff
  Case 1:10-cv-01022-GBW-KBM Document 32 Filed 04/28/11 Page 5 of 5




                              CERTIFICATE OF SERVICE

This is to certify that this response was emailed on April 28, 2011, to the following
counsel of record:


       Agnes Fuentevilla Padilla
       P.O. Box 3170
       Albuquerque, N.M. 87190-3 l70


__electronically signed__
Timothy L. White
